




Petition for Writ of Mandamus Denied and Memorandum Opinion filed
December 12, 2006








&nbsp;

Petition
for Writ of Mandamus Denied and Memorandum Opinion filed December 12, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-06-01021-CV

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&nbsp;

IN RE EUGENE JELKS, JR., Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT OF MANDAMUS

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&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

On
November 16, 2006, relator filed a petition for writ of mandamus
in this court.&nbsp; See Tex. Gov=t Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; In the petition,
relator asked this court to compel the Honorable Susan Brown, presiding judge
of the 185th District Court of Harris County, to rule on his petition for a
writ of habeas corpus.

Relator
has not established that he is entitled to mandamus relief.&nbsp; Accordingly, we
deny relator=s petition for writ of mandamus. 

PER CURIAM

&nbsp;

Petition Denied and Memorandum
Opinion filed December 12, 2006.

Panel consists of Justices Fowler,
Edelman, and Frost.

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